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                UNITED STATES BANKRUPTCY COURT
                 NORTHERN DISTRICT OF FLORIDA
                       PENSACOLA DIVISION

   IN RE:                                CASE NO: 18-30785-KKS
                                         CHAPTER 7
   BRENDA SUE STEWART,

      Debtor(s).
   __________________________/

   MOTION FOR TURNOVER OF DOCUMENTS OF THE DEBTOR(S)

                NOTICE OF OPPORTUNITY TO
             OBJECT AND REQUEST FOR HEARING

      Pursuant to Local Rule 2002-2, the Court will consider the relief
requested in this paper without further notice or hearing unless a
party in interest files a response within twenty-one (21) days from the
date set forth on the proof of service plus an additional three days for
service if any party was served by U.S. Mail, or such other period as
may be specified in Fed. R. Bankr.P. 9006(f).
      If you object to the relief requested in this paper, you must file
an objection or response electronically with the Clerk of the Court or
by mail at 110 E. Park Avenue, Suite 100, Tallahassee, FL 32301,
and serve a copy on the Trustee, Mary W. Colón, Trustee, P. O. Box
14596, Tallahassee, FL 32317, and any other appropriate person
within the time allowed. If you file and serve a response within the
time permitted, the Court will either schedule and notify you of a
hearing or consider the response and grant or deny the relief
requested without a hearing.
      If you do not file a response within the time permitted, the
Court will consider that you do not oppose the relief request in the
paper, will proceed to consider the paper without further notice or
hearing, and may grant the relief requested.
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      COMES NOW, Mary W. Colón, Chapter 7 Trustee, and files

this Motion for Turnover of Documents of the Debtor(s) and states as

follows:

      1.     The Debtor(s) filed a Chapter 7 petition for relief under

             Bankruptcy Code on 08/27/18.

      2.     The Section 341 meeting was held on 10/23/18 and

             continued to 11/26/18.

      3.     Debtor’s schedules show Debtor owns real property

             located at 569 3rd Ave., Holt, Florida.

      4.     BK Global Real Estate Services, is employed as a Real

             Estate Agent in this case (Doc. 16).

      5.     BK Global is currently pursuing a short sale of the

             property, with a cutout to the Estate, with the lienholder,

             USDA Rural Development (“USDA”).

      6.     USDA will not provide information to BK Global without a

             complete loan number.

      7.     Trustee has made repeated requests for a mortgage

             statement showing the complete loan number from

             Debtor.
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      8.     To date, Debtor has not provided the requested

             information to Trustee.

      9.     The document(s) are necessary to evaluate whether

             assets are available to administer in this estate.

      10.    The Trustee requests that this Court order the Debtor(s)

             to turnover the items which are the subject of this motion

             to Trustee within thirty (30) days.

      WHEREFORE, Mary W. Colón, Chapter 7 Trustee, requests

that this Court require the Debtor(s) to turnover a copy of a mortgage

statement within twenty (20) days to Trustee, and for such other and

further relief as this Court deems proper.

DATED: July 16, 2019.

                                        /s/ Mary W. Colón
                                        Mary W. Colón
                                        Chapter 7 Trustee
                                        Post Office Box 14596
                                        Tallahassee, FL 32317
                                        Florida Bar no. 0184012
                                        Telephone: (850) 241-0144
                                        Facsimile: (850) 702-0735
                                        trustee@marycolon.com
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                    CERTIFICATE OF SERVICE

     I HEREBY CERTIFY that a true and correct copy of the

foregoing has been furnished by U.S. Mail with postage prepaid to

Brenda Sue Stewart, 569 3rd Ave, Holt, FL 32564-9355; William T

Shaffer, Esq., William T Shaffer, Esq., 146 Woodruff Ave. West,

Crestview, FL 32536; and Charles Edwards, Esq., Office of the U.S.

Trustee, 110 East Park Ave, Suite 128, Tallahassee, Florida 32301

on July 16, 2019.

                                     /s/ Mary W. Colón
                                     Mary W. Colón
